           Case 1-17-43007-ess             Doc 47        Filed 01/02/19   Entered 01/02/19 15:19:35



UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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IN RE:                                                                    Chapter 13
                                                                    Case No. 17-43007
ANGELA COVE

                                    Debtor(s)
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                       PROPOSED AMENDED ORDER GRANTING DEBTOR’S
                      APPLICATION FOR APPROVING LOAN MODIFICATION

          Upon the motion of the above Debtor, Angela Cove (the “Debtor”), by notice of presentment

dated October 22, 2018, seeking an Order to Approve Loan Modification between Debtor and Creditor

Caliber Home Loan (the “Motion”); and, after due and sufficient notice, good cause having been shown

and no adverse interest being represented, it is hereby

          ORDERED, that the Motion is granted, and Debtor may enter into the Loan Modification with

Caliber Home Loan attached as Exhibit A hereto to the Motion (the “Modification Agreement”); and it is

further

          ORDERED, that the Chapter 13 Trustee Marianne DeRosa (the “Trustee”) shall disburse funds

in the amount of $8,542.96 ($2,135.74 x 4 months = $8,542.96) by check payable to Caliber Home Loan

Services, Inc., Attn: Loss Mitigation Modification, 13801 Wireless Way, Oklahoma City, OK 73134,

delivered by regular mail; and it is further

          ORDERED, that the Trustee shall not make any further payments on account of pre-petition

arrearage on the claim filed by U.S. Bank Trust, N.A., as Trustee for LSF9 Master Participation Trust c/o

Caliber Home Loans, Inc. on October 3, 2017 in the total amount of $442,340.52, reflected as Claim No.

7 on the PACER Claims Register.



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      Dated: Brooklyn, New York                                                   Elizabeth S. Stong
             January 2, 2019                                               United States Bankruptcy Judge
